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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     (Baltimore Division)

                                                )
  IRAQ MIDDLE MARKET                            )
  DEVELOPMENT FOUNDATION                        )
                                                )
                           Plaintiff,           )
                                                ) CASE NO. 1:15-cv-01124-GLR
  v.                                            )
                                                )
  MOHAMMAD ALI                                  )
  MOHAMMAD HARMOOSH aka                         )
  MOHAMMED ALHARMOOSH,                          )
  et al.                                        )
                                                )
                           Defendants.          )
                                                )


                                     JOINT STATUS REPORT

       Plaintiff Iraq Middle Market Development Foundation (“Plaintiff” or “IMMDF”) and

Defendants Ali Mohammad Harmoosh a/k/a Mohamed Alharmoosh and Jawad Alharmoosh

(collectively “Defendants”), through their respective counsel, hereby submit this joint status report

pursuant to the Memorandum issued by this Court on January 16, 2020 (Dkt. # 60) with respect to

Phase I of this action.

       a.       Whether the parties would like to participate in a mediation.

       The parties do not believe that mediation would be productive at this time.

       b.       Whether the parties object to having the case transferred to a U.S. Magistrate
                Judge for all further proceedings.

       Plaintiff’s Position: Plaintiff does not object to having the case transferred to a U.S.

Magistrate Judge for all further proceedings.

       Defendants’ Position: Defendants object to having the case transferred to a U.S. Magistrate

Judge for all further proceedings.



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          c.       The status of discovery and the trial’s likely duration.

          Discovery has closed with respect to Phase I of this litigation. With respect to the trial’s

likely duration, the parties’ positions are as follows:

          Plaintiff’s Position: Plaintiff anticipates that the trial as to Phase I will last no more than

four days. Although the issues that remain to be resolved are very narrow, Plaintiff believes that

a number of trial witnesses will need to testify through interpreters which will prolong each

witness’s time on the stand.

          Defendants’ Position: Defendants anticipate that trial as to Phase I will last up to four days.

However, Defendants note that many witnesses are not located in the United States and thus

anticipates that issues regarding their ability to appear at trial will need to be addressed as a pretrial

matter.

          d.       Any other issues the parties wish to bring to the Court’s attention.
          Plaintiff’s Issues: Plaintiff would like to note that

          Plaintiff’s estimate for the trial is based on its request that the sole question of fact

remaining for Phase I be decided by a jury. To the extent the right to a jury trial is disputed by

Defendants, this issue should be decided before trial can be scheduled.

          As an initial point, both parties demanded a trial by jury in their pleadings. See Complaint

(Dkt. # 1 at 8); Answer (Dkt. # 37 at 7); Amended Answer (Dkt. # 43 at 6). Fed. R. Civ. P. 38(d)

permits the withdrawal of a proper jury demand “only if the parties consent.” See also, Cram v.

Sun Ins. Office, Ltd., 375 F.2d 670, 675 (4th Cir. 1967) ("Although neither Cram nor Wahab filed

a demand for a jury trial under Fed. R. Civ. P. 38(a), Sun did file such a demand. Under Rule 38(d)



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Sun may not withdraw that demand without the consent of the opposing party”). Plaintiff has not

consented and does not consent to Defendants’ withdrawal of their jury demand at this stage.

         In the January 5, 2018 Joint Status Report filed by the parties (Dkt. # 48), Defendants

purported to withdraw that demand for purposes of the Phase I trial of this matter, stating that “as

only equitable claims are asserted for recognition of a foreign judgment with respect to Phase I of

the action, Defendants believe a non-jury trial is appropriate.” Neither at that point nor at any

point since have Defendants provided any authority in support of their assertion that an action filed

under the Maryland Uniform Foreign Judgment Recognition Action is an equitable claim. Indeed,

Plaintiff raised this issue in its initial brief to the Fourth Circuit (see, Brief of Appellant, U.S. Court

of Appeals Case No. 18-2212, Iraq Middle Market Development Foundation v. Harmoosh, 2018

WL 6571090 (C.A.4), December 11, 2018, at footnotes 8 and 15) and Defendants made no effort

to refute that position (see, Brief of Appellees, U.S. Court of Appeals Case No. 18-2212, Iraq

Middle Market Development Foundation v. Harmoosh, 2019 WL 181068 (C.A.4), January 9,

2019).

         Specifically, and as outlined in Plaintiff’s appellate brief, the Seventh Amendment provides

a jury trial for “suits at common law, where the value in controversy shall exceed twenty dollars[.]”

The Maryland UFMJRA “codifies the common law as applied by the majority of United States

courts.” Cedric C. Chao & Christine S. Neuhoff, Enforcement and Recognition of Foreign

Judgments in United States Courts: A Practical Perspective, 29 PEPP. L. REV. 147, 150 (2001);

see also Chevron Corp. v. Salazar, No. 11 CIV. 0691 LAK, 2011 WL 3628843, at *7 (S.D.N.Y.

Aug. 17, 2011) (citing Little v. Little, 127 Mont. 152, 155–56, 259 P.2d 343, 344 (1953) (noting

that “it seems beyond serious question that “[a]ction to recover a money judgment on a foreign




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judgment ... is clearly an action at law”) (internal quotations omitted). Defendant’s claim that an

action to recover under the UFMJRA is an “equitable claim” is without any legal support.

        The Supreme Court has held that the right to jury trial applies to “a statutory cause of action

that, although unknown at common law, is analogous to common-law causes that were tried before

juries.” City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 729, 119 S.Ct.

1624, 143 L.Ed.2d 882 (1999) (citing Feltner v. Columbia Pictures Television, Inc., 523 U.S. 340,

347–48 (1998)). Since an action to recover on a foreign judgment is an action at law, as noted

above, the right to a trial by jury attaches to it, as UFMJRA is mere codification of actions long

recognized at law.

        In response to Defendants’ request that the jury issue requires briefing, Plaintiff objects to

any briefing that might delay the scheduling conference. Plaintiff outlined its position on the jury

issue as early as January 2018 and Defendants have never responded except with the same

conclusory statement made here. This case has been pending for nearly five years and this issue

should not delay matters further. To the extent the Court believes briefing is needed, Plaintiff

requests that it be on a very expedited briefing schedule so that the issues can be ruled on or at

least argued at the scheduling conference. As these important issues are before the Court, Plaintiff

would also request that the scheduling conference not be held telephonically, i.e., that the parties

be permitted the option to appear in person to address these issues.

        Defendants’ Position: Defendants agree that the scope of the issues to be tried and whether

trial must be by jury are issues that must be decided before further proceedings. Defendants

respectfully request that the Court set a briefing schedule for the parties to fully brief the issues for

the Court before a determination is made. As a status report is not the appropriate vehicle to brief

this issue in detail, Defendants briefly note that the issues in Phase I of this action revolve around



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the equitable principle of waiver of the arbitration right. Thus, as the issue is equitable in nature,

there need not be a jury trial. As they do now, Defendants raised this issue in a previous status

report to bring the issue to the Court’s attention in a previous status report. As this issue must be

decided prior to further proceedings, Defendants request the opportunity to brief the issue in an

appropriate manner. Defendants are prepared to brief this issue pursuant to a schedule set by the

Court in advance of any status conference.

Dated: January 21, 2020                        Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

       I hereby certify on this 21st day of January 2020 that I have electronically filed the Joint

Status Report with the Clerk of the Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:

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